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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   JIJIBHOY J. PATEL, et al.,

11                  Plaintiffs,                           No. CIV S-99-1275 RRB EFB PS

12          vs.

13   DAMERON HOSPITAL, et al.,
                                                          ORDER DENYING STAY
14                  Defendants.
                                              /
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16          This case, in which plaintiffs are proceeding in propria persona, is before the

17   undersigned pursuant to Local Rule 72-302(c)(21). See 28 U.S.C. § 636(b)(1).

18          This action was stayed on April 23, 2002, by order of the previously assigned magistrate

19   judge due to the pendency of plaintiffs’ bankruptcy proceedings. On October 2, 2007, plaintiffs

20   filed a notice with the court that the bankruptcy proceedings were no longer pending, and

21   requested permission to proceed with discovery. Plaintiffs requested a discovery conference,

22   which they noticed for hearing on October 24, 2007. Given the long period of inaction in this

23   case, the court ordered the parties to submit status reports to the court, and a conference was held

24   on November 14, 2007. At the conference, the case’s status was discussed and the court

25   indicated its intention to revisit the findings and recommendations previously filed by Magistrate

26   Judge Peter A. Nowinski (Ret.), which recommended dismissal as to several defendants, and to

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 1   consider the pending Rule 12(b)(6) motions.

 2                The matter was submitted, and in the interim, plaintiffs have filed two ex parte requests

 3   to stay this action. Plaintiffs request a stay so that defense counsel can consider plaintiffs’ offer

 4   to settle the case, and so that plaintiffs can find an attorney who will accept this case on a

 5   contingency basis. Plaintiffs also indicate that they will be traveling in India during January

 6   2008.

 7            Defendants Dameron Hospital Association, Meherji Oshtory, M.D., Luis Arismendi,

 8   M.D., Steven Laviola, M.D., Grewal, David Judge, M.D., Fram Buhari, M.D., Alvin Cacho,

 9   M.D., and Chen Liem, M.D., have filed objections to the first ex parte request to stay the action.1

10   They cite plaintiffs’ more than year-long delay in notifying the court that the bankruptcy

11   proceedings had concluded, and argue that further delay is unnecessary in light of this court’s

12   forthcoming findings and recommendations.

13            “A district court has discretionary power to stay proceedings in its own court. Lockyer v.

14   Mirant Corp., 398 F.3d 1098, 1109 (9th Cir. 2005) (citing Landis v. North American Co., 299

15   U.S. 248, 254 (1936)). A court must weigh the competing interests which will be affected by

16   ruling on the stay. Id., at 1110 (citing CMAX, Inc. v. Hall, 300 F.2d 265 (9th Cir. 1962)).

17                      Among those competing interests are the possible damage which
                        may result from the granting of a stay, the hardship or inequity
18                      which a party may suffer in being required to go forward, and the
                        orderly course of justice measured in terms of the simplifying or
19                      complicating of issues, proof, and questions of law which could be
                        expected to result from a stay.
20

21   Id., at 1110 (quoting CMAX, Inc., 300 F.2d at 268).

22            Plaintiffs have made no showing that they would suffer a hardship or inequity should the

23   court proceed to issue findings and recommendations on the motions to dismiss submitted more

24   than seven years ago. For this reason, and in light of the already long delay that has plagued this

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26                The first and second requests are identical.

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 1   case (due, in part, to plaintiffs’ failure to timely advise the court that the bankruptcy proceedings

 2   had concluded), the court finds no good cause for imposing another stay. Accordingly, the

 3   request for a stay is denied. The court’s decision on the pending motions to dismiss will be

 4   forthcoming in separately filed findings and recommendations.

 5          SO ORDERED.

 6   DATED: January 31, 2008.

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